                      Case 4:24-cr-00001-Y Document 48 Filed 05/23/24                                        Page 1 of 1 PageID 729                                        MO-2       (3/07)
                                                                UNITED STATES DISTRICT COURT
                                                                 NORTHERN DISTRICT OF TEXAS
                                                                      Fort Worth  DIVISION

 HONORABLE                                 Terry R. Means                           , Presiding
 DEPUTY CLERK:                             Michelle Moon                                   COURT REPORTER:              Debbie Saenz
 LAW CLERK _                               Adam Skrzecz                                    USPO                                   _                     =                         .
 INTERPRETER


 UNITED STATES OF AMERICA                                     CRUNo:           4-24-CR-001-Y               (1)        ___P. J. Meitl, Nancy Larson                                AUSA
¥v                                                                       a                                                  -          os           7             Case Agent
     :                                                                                 N
                                                                                       §
                                                                                       N
                                                                                       N
JOHN         ANTHONY            CASTRO                                                 §                         Franklyn Mickelsen. (R), Jason B. Freeman (R)
Defendant(s) Name and Number(s)                                                                                  Counsel for Deft(s) Appt-(A ), Retd-(R), FPD-(1')

                                                     4th                 pay   orl] JURY       (X] BENCH     TRIAL
Date Held: 5-23-24
           _
Time in Court: S hrs. 18m.
Trial as to Counts: | through33 of indictment

 Trial Status:              []completed by Jury Verdict (_] Continued from Previous Month (_] Directed Verdict [X] Evidence Entered
                            Hung Jury Csury Selection Only, continued [_] Jury Selection or Verdict Only (No Trial Before this Judge)
                            L)Mistrial Lsettled/Guilty Plea

Days
  in Trial:                 4                                                                                                   US. DISTRICT COURT                 |
Hearing Concluded:[_] Yes                   No                                                                   |   NORTUET               I                XA     |
C] Deft.          _              failed to appear, bench warrant to issue.                                                                                         |
LJ Pretrial Conference held prior to trial.                                                                                                                            |
CJ Voir dire begins.        CJ Bench trial begins.      (] Waiver of Jury Trial.                                     CT ERI          TeD       ——            RT        |
oO Jury impaneled. [J Jury selected (J Jury sworn                                                                                :                                 |
C] Jurytrialheld.                         (KJ. Bench trial held.                                                        =
L] Govt       Deft evidence presented.
C] deft                                     motion for                           ___        [granted (FJ denied [J] moot.
] Govt motion for                                                  (Jegranted [J denied.
  Deft                                   motion                                 taken under advisement.
LC] Deft                                 motion                                  C] granted []denied.
       idence concluded.
(J Final arguments. (FJ... Court deliberating.
C] court's charge to the jury.
im Jury deliberating. 0... Jury questions filed.
         Jury verdict Rendered (See Verdict Form).
         Court verdict Rendered (See Verdict Form).
         Jury trial ends.
O        Order for PSI, Disclosure and Sentencing dates entered.
         Sentencing set for                   at
         Bond |X} continued        [_] revoked
(Deft bond set to $                               (LJCash Lsurety (10%             (pr.
il       Defendant    Custody/Detention       continued.
_] Defendant REMANDED to custody.

         STATUS      OF EXHIBITS:        In possession of the parties.
OTHER          PROCEEDINGS:


Adjourned until. 9:30 a.m., May 24, 2024
